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 7
                            IN THE UNITED STATES COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9

10                                                 Case No.: 1: 07-cr-50 LJO
     UNITED STATES,
11
                    Plaintiff,
12                                                 ORDER ON EX PARTE REQUEST
            vs.
                                                   FOR RETURN OF PROPERTY
13
     JIMENEZ-NUNEZ, et al.
14
                    Defendants
15
             In light of the fact that the United States dismissed all charges against Defendant
16
     Santiago Jimenez-Nunez on Friday, April 4, 2008, the court orders the clerk of the court
17   to return to Santiago Jimenez-Nunez his passport and any other personal property
     belonging to Santiago Jimenez-Nunez that has been held by the clerk.
18

19
     IT IS SO ORDERED.
20

21   Dated:       April 9, 2008                  /s/ Lawrence J. O'Neill
     b9ed48                                  UNITED STATES DISTRICT JUDGE
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                        ORDER FOR RETURN OF PROPERTY
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